Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 1 of 23




                   EXHIBIT

                             A
          Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 2 of 23




           STRATEGIC COMMUNICATIONS PLAN
GIULIANI PRESIDENTIAL LEGAL DEFENSE TEAM
  We Have 10 Days To Execute This Plan & Certify President Trump!


GOAL: Nationwide communications outreach campaign to educate the public on the fraud
numbers, and inspire citizens to call upon legislators and Members of Congress to disregard the
fraudulent vote count and certify the duly-elected President Trump
TIMELINE: Dec 27th - Jan 6th


FOCUS OF CAMPAIGN:
SWING STATE REPUBLICAN SENATORS – AZ, GA, MI, NV, PA, WI
REPULBICAN MEMBERS OF THE HOUSE
REPUBLICAN MEMBERS OF THE SENATE


ISSUES:
MASSIVE CORRUPTION IN THE ELECTION PROCESS LED TO A VOTE TALLY THAT IS
FRAUDULENT
   -   Dead people voted
   -   Underage people voted
   -   Voters who voted numerous time
   -   Ineligible people voted
           o Felons
           o Illegals
           o Those who were not Indefinitely Confined as defined by law (WI)
   -   Overvote – more people voted than were registered in their county – 400+% for
       example in one county
   -   Vote Counting Illegalities
           o Affidavits re: witnessed piles of the same ballots being counted repeatedly
   -   Fraudulent Ballots
           o Fulton County, GA, video of suitcases of fraudulent ballots
           o Affidavits re: witnesses noting pristine ballots – wrong paper type; not folded
    Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 3 of 23




       o Affidavits re: witnesses seeing ballots being dropped at counting facilities from
           unauthorized vehicles
-   Mail-in Ballots Fraud
       o No observation by Republican Officials to verify mail-in ballots’ legitimacy
               ▪ Requirements not verified: Name, Address, Signature, Date
       o Ballots counted that did not have a security envelope
       o Ballots counted before they were requested
       o Ballots counter before thew were available or requested
       o Illegal Ballot Harvesting via the Zuckerberg Boxes and elsewhere
-   Dominion Machines Fraud
       o Error rate outrageously beyond what is acceptable under FEC rules
       o Rejection rate massively beyond standard levels
       o Adjudication rate almost 100%
       o Intentional Adjudication built into the software
               ▪ “Adjudication” allows the machine algorithm or an Administrator to
                   determine the “intent” of the voter and vote the ballot accordingly
                       • Adjudication has:
                              o No oversight
                              o No accountability
                              o No record (in many cases)
                       • Coffee County, GA, Clerk has a video to show how fraud can be
                          easily done through Adjudication
       o Dominion machines are live on the internet – per their own User Manual
       o Dominion machines are profoundly easy to hack
               ▪ VPN access
               ▪ No oversight over changes with USB drives
               ▪ Software is virtually open
       o Proven Dominion fraud in Antrim County, MI
               ▪ 61% Error Rate
               ▪ 82% Rejection Rate
               ▪ Non-existent records for Adjudication – only for 2020
               ▪ Non-existent records for software security – only for 2020
               ▪ Non-existent records for systems files – only for 2020
               ▪ Votes PROVEN to have been moved throughout Central Lake Townships
                   when ballots were re-run with a different software stick – VOTES
                   CHANGED from the top of the ballot to the bottom
                       • No explanation given to the Clerk for re-running the ballots
                       • Proposition for the sale of marijuana changed from a loss to a win
       o Dominion CEO Poulos lied throughout his testimony before the MI legislature in
           December 2020
      Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 4 of 23




          o Dominion has a reputation for stealing elections around the world
                 ▪ Dominion contains software from Venezuelan firm Smartmatic
                          • Smartmatic was founded and financed by Hugo Chavez to control
                               voting out comes in Venezuela
                          • We have affidavits of witnesses who met with Maduro family
                               members who said that this vote-theft technology is used to
                               control his elections as well
          o Dominion is a foreign-controlled and foreign-owned company
          o Smartmatic is a foreign-controlled and foreign-owned company
          o Dominion has been decertified for use by the State of Texas
          o Dominion machines have a “poison pill” in their software that automatically
             deletes the records within the voting machines
          o Live-feeds of Dominion vote tallies show vote tallies in percentages
  -   Election Officials’ Illegal Actions
          o MI Secretary of State called for all Clerks to delete electronic voting data in
             violation of state law
          o No Chain of Custody for USB drives for voting machines
          o No Chain of Custody for mail-in ballots
          o No Chain of Custody for voting machines themselves
          o Election Official Ruby Freeman is seen surreptitiously & illegally handing off
             hard-drives ON CAMERA in the Georgia counting facility
          o Various Secretaries of State removed the public posting of results on their
             websites days after the election
          o Various officials have called for the destruction of ballots and/or envelopes in
             violation of record retention laws
          o Secretary of State in GA forced counties to certify their vote when they were not
             able to determine the true vote count and did not want to certify


WHAT WORKS TO PROVE THE ELECTION NUMBERS ARE RIGHT OR WRONG
  -   Doing a forensic examination of the machines’ software will determine if there is fraud
  -   Doing an analysis of the scanned images of the ballots
          o This can show:
                  ▪ Illegal type of paper
                  ▪ Illegal type of ink
                  ▪ Mail-in ballots that were not folded (thus, not mailed)
  -   Signature verification by AI
  -   Envelope verification by AI
  -   Ballot vote counting by AI
          o Can provide a proper tally
      Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 5 of 23




         o Can detect if the ballot was filled in by a machine (illegal) vs. by hand
  -   Re-running ballots through the machines to see if the tallies match


WHAT DOES NOT WORK TO PROVE RIGHT OR WRONG VOTE COUNTS
  -   Hand recounts – they just recount fraudulent votes
  -   Signature verification by humans– very few can do this at a professional level
  -   Audits – they just take a percentage of total votes, and then recount the fraudulent
      votes
  -   Doing Nothing


MESSAGING:
  -   What do you elections officials have to hide?
  -   Why do you not want to have an investigation into a system that is known for vote
      fraud?
  -   How can you guarantee that no corruption of the vote took place?
  -   Why are American votes being counted by servers in foreign countries?
  -   Why are the voting machines not secure from hacking and manipulation by employees?
  -   Why is there no Chain of Custody record in place for mail-in ballots?
  -   How can you guarantee that corruption of the vote won’t take place again?
          o Especially important for the GA Senate run-off
  -   Legislators:
          o What are you doing to prove no fraud happened?
          o How can votes be calculated in percentages? This is a clear indication of fraud.
          o Why do you not stand with the people of your state in demanding an
              investigation?
          o How can you certify an election that has PROVEN fraud in your state?
          o Why do you not stand up for America’s founding principles?
          o Why are you not exercising your plenary powers, derived from the Constitution,
              to utilize your authority to vote the electors in the way you know the people of
              your state voted?
          o Why are you defending this corruption?
          o Why are you hiding this corruption?
  -   Citizens:
          o You must demand accountability from your state legislators
          o You must demand they exercise their plenary power to reverse this fraud
          o You must demand a thorough investigation of this corruption
          o You must Take Back Your Country from Corruption and Corrupt Officials
  -   Members of Congress:
        Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 6 of 23




           o You simply CANNOT certify electors who are represent a fraudulent vote count
           o You must vote the Will of the People
           o You must take into consideration the vast number of proven fraudulent votes
              and back those out of the reported totals
           o You simple cannot let America be stolen by a sophisticated plot to manipulate
              our vote totals by utilizing fraudulent and deceptive practices in our election
   -    EVERYONE:
           o YOU CANNOT LET AMERICA ITSELF BE STOLEN BY CRIMINALS – YOU MUST
              TAKE A STAND AND YOU MUST TAKE IT TODAY


MESSAGING TYPES
Daily Talking Points and Specific Fraud Numbers with Citations
Pre-written Tweets – multiple per day
Posts for Instagram – multiple per day
Radio Ads – flood the local airways in AZ, GA, MI, NV, PA, WI
Local TV Ads - flood the local airways in AZ, GA, MI, NV, PA, WI
Other


CHANNELS TO DISSEMINATE MESSAGING
Presidential Tweets
Giuliani Team Tweets
Talk Radio
Conservative Bloggers
YouTube Influencers
Social Media Influencers
Local TV Stations `
   -    Targeting of local Legislators as most people watch their local news
Conservative Podcasts
Op/Eds in local papers - pre-written
OP/Eds for online publications
         Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 7 of 23




Conservative SM Influencers (see supporting document below for list)
College Republicans
Young Republicans
Trump Campaign Volunteers
Lawyers for Trump Members
Others


CONTENT
Giuliani Team Voter fraud numbers (see supporting document below for details)
   -     Backed up by
            o citations from Secretary of State’s official numbers
            o Live data feed records from election day
            o Sworn affidavits from witnesses
            o Videos of fraud
            o Navarro Report on Dominion Voting Machines
            o Navarro Report: Immaculate Deception
            o Antrim County Report
            o Tech Team analyses
            o Fact Sheet on Dominion CEO lies during testimony


KEY TEAM MEMBERS
Rudy Giuliani– Strategic Communications Plan Run by BK and KF
Media Advisors – SB, BE
Serrano Public Relations Team
Research Team – CR and SP
Influencer Outreach – TF
Tech Team – PW
Peter Navarro Team
Local Legal Teams in AZ, GA, MI, NV, PA, WI
Identified Legislative Leaders in each swing state
       Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 8 of 23




Freedom Caucus Members


RALLIES AND PROTESTS
Organize Events in AZ, GA, MI, NV, PA, WI
Targets:
   -   Support for hearings
   -   Support for President Trump
   -   Protests at Local Officials Homes/Offices
   -   Protests at Governor’s Mansions
   -   Protests at Lt. Governor’s home
   -   Protests at Secretary of State’s home
   -   Protests at weak Members’ homes
   -   Protests in DC – Rally for Key House and Senate Members
      Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 9 of 23




SUPPORTING DOCUMENTS:

       VOTER FRAUD HIGHLIGHTS FOR 2020 US ELECTION
                   Presented by the Giuliani Team


ARIZONA
Margin: 10,000 votes
  • 12% of mail-in ballots were in need of adjudication
  • Dominion said that the machines weren’t connected to the internet, but we
    have an affidavit that says it was
  • Illegals who voted – 36,400 estimated by pro-immigrant group (American
    Immigration Council estimates that 276,840 illegals are in AZ)
  • Jury rolls, which would show illegals and felons, were pulled from public
    view within months of the election
  • Uniform exclusion of Republicans from meaningful observation on mail-in
    ballots and adjudication
  • 22,903 mail-in ballots received the day before the ballot was sent out
  • 2000 voters registered to a vacant lot
  • 150,000 people registered in Maricopa County after the registration
    deadline
  • 103,000 ballots in Maricopa were sent for electronic adjudication – no
    Republican observation
  • 50,000 votes loaded on ahead of the opening of the polls
      Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 10 of 23




GEORGIA
Margin: 10,000 votes
    • Video of Ruby and Shay at midnight
         o That is the time of the 200,000 vote bump
                ▪ Similar interruptions at same time in other states
         o No Watermain Break – a lie to get the Republican observers and
             media to leave at 10:30pm
    • We are looking at machines in the Republican districts as the President ran
      3-5% behind local legislators – and they do not believe that is possible
    • Machines were connected at poll-pad and tabulator level, as we have
      testimony that the Denver help desk for Dominion worked on problems
      remotely
    • Ware County demonstrated a 13%-point reduction from Trump with
      fractional votes and assigned to Biden for a 26% differential
    • Coffee County Election Administrator shows how to manipulate cast
      ballots, change votes, and vote blank ballots as a function of the Dominion
      machine design and the electronic “Adjudication Process”
         o Coffee County could not replicate the ballot tallies after re-running
             them repeatedly, and thus did not certify their 15,000 votes
         o Gwinnett and Fulton County had a greater than 80% adjudication
             rate, where the administrator determines the voter “intent” with no
             oversight
                ▪ 1 out of 250,000 is standard for inaccuracy

▪   2,560 felons with uncomplete sentences registered to vote and cast their
    vote; Geels 1 Para. 29
▪   66,247 underage people registered to vote and illegally voted; Geels 1 Para. 24
▪   2,423 unregistered people voted; Geels 1 Para. 12 (please note the number in
    the affidavits is about double what we cited in the petition. You’ll need to ask
    Alex or Patrick Witt why that is).
▪   4,926 registered voters who registered to vote in another state after their
    Georgia registration date voted; Braynard Para. 12, 19-20
          Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 11 of 23




    ▪   395 people voted in Georgia and also voted in another state; Braynard Para.
        14, 23-24
    ▪   15,700 people voted in Georgia but changed their address before the
        election; Braynard Para. 12, 19-20
    ▪   40,279 people voted who failed to re-register to vote in their new county in
        time after moving from one county to another; Davis Para. 25
    ▪   1,043 people voted who illegally said a post office box was their
        residence; Braynard Para. 12, 21-22
    ▪   98 people who registered too late to vote in the election; Geels 1 Para. 19
    ▪   10,315 people who had died by the time of the election; Geels 1 Para. 28

o   For absentee ballots:

    ▪   305,701 absentee ballots were applied for too early; Geels 1 Para. 13
    ▪   92 absentee ballots were cast and returned to the Secretary of State before the
        voter actually requested an absentee ballot; Geels 1 Para. 14
    ▪   13 absentee ballots were sent to people who weren’t yet registered to
        vote; Geels 1 Para. 22
    ▪   2,664 absentee ballots were sent to voters too early; Geels 1 Para. 18
    ▪   50 absentee ballots were cast and returned to the Secretary of State before
        absentee ballots could even be sent to voters; Geels 1 Para. 17
    ▪   At least 2 absentee ballots were cast even though the voter’s request for an
        absentee ballot was denied. Geels 1 Para. 21

o   The historical rejection rate of absentee ballots in Georgia:

    ▪   For the November 3 Presidential Election, 1,768,972 absentee ballots were
        mailed out by the Secretary of State. Geels 2 Para. 9
    ▪   Of those, 1,317,000 absentee ballots were returned (i.e., either accepted,
        spoiled, or rejected). Geels 2 Para. 9
    ▪   The number of absentee ballots returned in this election was 500% more than
        for the 2016 General Election, and 400% more than for the 2018 General
        Election. Geels 2 Para. 15
      Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 12 of 23




▪   Over a million more absentee ballots were returned than the 2016 and 2018
    General Elections. Geels 2 Para. 9
▪   For the 2016 General Election, 6,059 absentee ballots were rejected, a 2.90%
    rejection rate. Geels 2 Para. 10
▪   For the 2018 General Election, 7,889 absentee ballots were rejected, a 3.46%
    rejection rate. Geels 2 Para. 10
▪   For this election, only 4,471 absentee ballots were rejected, a 0.34% rejection
    rate, despite a nearly sixfold increase in the number of ballots returned.. Geels
    2 Para. 12

                    § Had the statutory procedure for signature matching, voter
                      identity, and eligibility verification been followed for this
                      election, we should have seen between 38,250 to 45,626
                      absentee ballots rejected - far more that Mr. Biden’s
                      margin of victory. Geels 2 Para. 16\
    • No Chain of Custody – 600,000
    • 726,560 have moved mailing addresses with no change of address card –
      voted where
         o 275,050 have filed as moving out of the state but are still registered
            in GA
         o 17,000 are living outside of GA and voted in GA
    • 96,600 mail-in ballots with no return record were counted
       Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 13 of 23




WISCONSIN
Margin: 20,000 votes
“Indefinitely Confined” Voters
   •   Total is 226,000 for 2020
   •   Usual is 20,000 previous – standardized list
   •   No early voting – absentee voting is intentionally difficult
   •   Indefinitely Confined has always been strictly administered, and was
       designed for nursing homes and home confinement
   •   Secretary of State tried to expand IC to include COVID
   •   WI Supreme Court ruled that COVID does not count as IC
   •   Secretary of State convinced 200,000+ to claim IC status anyway
   •   Court ruled again that this is illegal, and asked that those falsely claiming IC
       status be identified
   •   Our team has found 1,000s of IC-claiming individuals with active lifestyles
       on FaceBook
     Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 14 of 23




MICHIGAN
Margin: 147,000 votes
  • Wayne County originally rejected certifying their vote because 71% of their
    reporting precincts didn’t balance – only certified after threatening &
    doxing the Republican Board of Electors Members who declined
    certification
        o This means that less than 30% of their votes were accurate
        o Even the UN would not accept this rate in a third world country
  • Antrim County forensics report
        o shows a 68% error rate (FEC legal maximum error rate is 0.0008%)
        o 81% rejection rate
        o Adjudication and Security records missing – a violation of state
           retention laws requiring records to be maintained for 22 months
  • Secretary of State Jocelyn Benson sent a Board of Electors directive on 1
    December to all Country Clerks telling them to delete all electronic records
    – in violation of state law records retention
  • Republican Speaker Lee Chatfield called for a subpoena in Wayne County to
    examine the voting machines – with a due date of January 6th
  • 17,367 Dead Voters – first, middle, last, date, obit
Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 15 of 23




             OVERVOTE IN MICHIGAN BY TOWNSHIIP


            Precinct/Township               % Turnout
            City of North Muskegon           781.91%
            Zeeland Charter Township         460.51%
            Grout Township                   215.21%
            City of Muskegon                 205.07%
            City of Detroit                  139.29%
            Spring Lake Township             120.00%
            Greenwood Township               100.00%
            Hart Township                    100.00%
            Leavitt Township                 100.00%
            Newfield Township                100.00%
            Otto Township                    100.00%
            Pentwater Township               100.00%
            Shelby Township                  100.00%
            Shelby Township                  100.00%
            Weare Township                   100.00%
            City of Hart                     100.00%
            Grand Island Township              96.77%
            Tallmadge Charter
            Township                           95.24%
            Fenton                             93.33%
            Bohemia Twp                        90.63%
            Zeeland Charter Township           90.59%
     Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 16 of 23




PENNSYLVANIA
Margin: 68,000 votes
  • 682,777 mail-in votes were counted without a single Republican viewing
    and verifying the ballots, names, signatures, addresses, dates
  • Secretary of State election results removed from the internet
  • Primary – 1.98m mail-in votes sent out, 2.4m mail-in votes counted
  • Mail-in Ballots Retuned: 1,462,302
  • Mail-in Ballots Not Returned: 360,846
  • Mail Ballots Returned Before Mailed Date: 22,686
  • Mail Ballots Returned on Same Day They Were Mailed: 32,591
  • Mail Ballots Processed for Confirmed Dead: 8,021
  • Mail Ballots Mailed Before They Were Requested: 4,894
  • Mail Ballots Processed Before They Were Requested: 735




     TAKE-AWAYS:

  • Give us access to the voting machines for forensics analyses to determine
    the accuracy of the vote, and the legitimacy of the ballots
        o Our review can determine valid paper, creases from folding for
           mailing, ink type, whether ballot was filled out by hand or machine
  • Help educate Governors and Legislators as to the extent of the proven
    fraud
  • Support citizens’ protests coming in the next two weeks against state
    officials
  • Support our duly-elected President – we WILL win this battle against fraud!
       Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 17 of 23




SM CONSERVATIVE INFLUENCERS
Compiled by Christos Makridis and Soula Parassidis

Big names:
1. Candace Owens (YouTube 747k, Instagram 3 million, Twitter 2.8 million)
2. Charlie Kirk (YouTube 356k, Twitter 1.9 million, Instagram 1.5 million)
3. Hodge Twins (YouTube 1.69 million subs, Instagram 2.3 million)
4. Officer Tatum (YouTube 1.43 million, Instagram 748k, Twitter 611k)
5. Ben Shapiro (YouTube 2.5 million, Instagram 2.5 million)
6. PragerU (YouTube 2.85 million, Instagram 1.5 million)
7. Dave Rubin (YouTube 1.46 million, Instagram 176k)
8. Daily Wire (YouTube 2.44 million, Instagram 1 million)
9. Students for Trump - Ryan Fournier, (Twitter 1.1 million, Instagram 318k)
10. The Majority Report (Sam Seder) (YouTube 993k, Twitter 168k)
11. Steven Crowder (YouTube 5 million, Twitter 1.3 million)
12. Mark Levin (Twitter 2.8 million)

Medium:
10. Eric Metaxas (YouTube 186k, Twitter 129k, Instagram 16k)
11. Brandon Straka - "Walk Away" (YouTube 219k, Personal Twitter 665k, Instagram 191k)
12. Michael Knowles (YouTube 370k, Instagram 158k)
13. Ron (@codemonkeyZ) (475k Twitter)

Small:
13. Stop the Fraud (Rod) - (Twitter 135k)
14. Hey Jude (Twitter 148k)
15. AMErikaGIRL (Twitter 205k)
16. Bradley Scott (Twitter 281k)
17. Juanita Broaddrick (Twitter 484k)
18. Melissa Tate (Twitter 524k)
19. John Kiss my Bot (Twitter 199k)
20. Adam Corolla (YouTube 142k)
21. Trish Regan (YouTube 26.4K, Twitter 745.3K)

Micro:
22. Sara Eaglesfield (Twitter, 24k)
23. Cultural Husbandry (Twitter 30k)
24. Alison Morrow (YouTube 78K, Twitter 3.5K)

TIKTOK*** WE have to use TIKTOK!! Content goes VIRAL here like no other platform!!!!! And
there are MILLIONS of Trump supporters! It would be amazing if POTUS would use the platform
actually - he'd have the biggest account EVER
20. Conservative Ant (Vito) (574k followers)
21. Conservative Barbie (846k followers)
       Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 18 of 23




22. Republican Hype House (1.5 million)
23. Dr. Sara Lorei (86k - fewer followers but she does an amazing Kamala Harris impression)
24. Matt Convard (young guy, very logical and articulate, 190k followers)
25. Adam Calhoun (949k) (musical artist, hilarious but swears a lot, rough persona but I think it
will connect with many people)
26. Bryson Gray (213k TIKTOK, 111k YT) - “Donald Trump is your President” - amazing song!!! All
his songs for Trump are incredible!
27. Emmanuel Harouno (279k) - he uses green screen a lot to simply react to facts that are put
out, very high engagement and super sympathetic.
28. The Republican Girls (367k)
29. Damani Bryant Felder (239k, very funny and extremely high engagement)
       Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 19 of 23




TOP 10 WORST FRAUD INCIDENTS BY STATE
Prepared by JaNelle Cobb, TX Attorney, Lawyers for Trump, as of 12/19/20
ALL States with Dominion Voting Systems ("DVS"):
       Colonel Phil Waldron [state credentials] - Expert testimony and IT data for evidence of increased
       Internet traffic on (11/03/20) between US and Germany, Spain, Canada [need to confirm
       countries] and connectivity of Dominion Voting Systems to Internet.
       Dr. Shiva Ayyadurai [state credentials - MIT PhD (multiple degrees), inventor of email] - Expert
       testimony with mathematical analysis and graphs proving statistical certainty of algorithm used
       to automatically steal percentage of votes from Trump and given to Biden, emphasizing
       mathematical impossibility to have decimal point totals in a "one person, one vote" calculation.
       Stopped Count - All swing states stopped counting at approximately the same time on the night
       of Election Day (11/03/20), which correlates to time of "ballot stuffing" based on evidence and
       supports expert findings that preset algorithm in DVS machines were broken by underestimated
       large turnout of Trump voters.
AZ, GA and PA:
       Bobby Piton [state credentials (mathematician and chartered financial analyst)] - Expert
       testimony and mathematical calculations to confirm blatant voter fraud based on incontrovertible
       evidence in statistical analyses of official government records on voter data.
       According to Twitter post, as of 12/18/20, Piton has statistical findings for AZ, GA and PA. Needs
       contact of person to perform the same for MI and WI).


                                    Top 10 Worst Fraud Incidents
ARIZONA
   1. Dominion Voting Systems - Based on results of the forensic audit of DVS machines in Antrim
      County, Michigan, the AZ state legislature obtained a subpoena for ALL DVS machines in Maricopa
      County, AZ to be confiscated and forensically audited with results due on (12/18/20). Board of
      Supervisors refused to comply and is attempting to quash subpoena to prevent the results to be
      shown to We The People, who are entitled to the results as those in authority over the Board of
      Supervisors AND the state legislatures per the US Constitution.
       Please Note - AZ state legislature may be reminded of authority via Article II, Section 2, Clause 2
       of US Constitution to decertify votes NOW, as Board of Supervisors' refusal to comply with
       subpoena and efforts to quash are evidence of guilt, essentially an admission (as will be true if
       WHEN the machines are audited information on the machines has been deleted).
   2. "Glitches" Reported - [See: https://www.breitbart.com/politics/2020/11/07/rep-gosar-calls-on-
      az-officials-investigate-the-accuracy-of-the-dominion-ballot-software-after-reports-of-glitches/].

   3. Bobby Piton - Analyzed official government records on voter data in AZ and found up to 300,000
      fake people voted in AZ. [See: https://welovetrump.com/2020/12/01/twitter-suspends-bobby-
      piton-while-he-gave-his-witness-report-at-legislature-hearings-in-arizona/].
   Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 20 of 23



4. Poll Challenger Exclusion - On (11/04/20), morning after Election Day, GOP (and possibly
   Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
   counting location and corralled.

5. "Sharpie Gate" - Voters told to use sharpies and not pens to ensure votes did not count.
   [See Video: https://www.youtube.com/watch?v=R-2YZqAzw2A&feature=youtu.be and Receipt:
   https://www.dropbox.com/s/d4x38y8oot7phsc/123669205_786112478612590_210442077159
   1550005_o.jpg?dl=0].

6. Ballot Harvesting - AZ woman investigated for voter fraud after video shows offering to mail
   ballots [See: https://www.msn.com/en-us/news/crime/arizona-woman-investigated-for-voter-
   fraud-after-video-shows-her-offering-to-mail-people-s-ballots/ar-BB1akHlA].

7. Dead "Voted" - Applies to ALL swing states.
   [See:https://www.thegatewaypundit.com/2020/11/searching-voter-rolls-dead-voters-try-social-
   security-death-master-file/]

   Nos. 8 to 10 - to be supplemented MICHIGAN
1. Audit Results of Antrim County - 68% error rate of DVS machines. DVS designed to commit
   election fraud [See: video of GA demonstration of DVS machines as evidence of intentional design
   for error rate to easily manipulate ballots in adjudication process].

2. Ballot Dump - On (11/04/20), at or around 4 AM the morning after Election Day, multiple
   eyewitnesses observed vans pull up and unload approximately multiple boxes of ballots, totaling
   about 138,000 ballots, all reportedly for Biden (many without down-ballot votes), which were
   placed in the tabulation machines and counted without the requisite attendance of GOP Poll
   Challengers and received AFTER the cutoff period as required by state legislature - 8 PM (or 9 PM
   if include grace period) on Election Day (11/03/20).
   [See Chart: 138,339 Biden Votes Found - No Votes for Trump:
   https://www.dropbox.com/s/gh6wo8kduhu5nw1/123635090_10102264646138494_47979090
   69374599873_n.jpg?dl=0]

3. #DetroitLeaks - Video taken of training by state employee to Poll Workers on how to lie to voters,
   destroy ballots, and stop Poll Challengers, evidence of pre-planned coordinated effort to commit
   voter / election fraud [See FULL VIDEO: https://rumble.com/vaxwob-detroit-leaks-video-was-
   taken-down-from-screwtube.html]. Publisher of video, reporter Shane Trejo, threated with Cease
   and Desist Order and criminal prosecution by AG Nessel if video was not scrubbed from Internet
   [See:https://www.thegatewaypundit.com/2020/11/crazed-vicious-michigan-ag-threatens-
   criminally-charge-gop-lawmakers-meeting-trump-stolen-election/].
4. Multiple Ballots with Same Signature - Video of MI SOS official directing volunteers to count
   "multiple ballots with very same signature" during "audit" of votes in Antrim County, MI.
   [See:https://www.thegatewaypundit.com/2020/12/mi-sec-state-official-caught-video-telling-
   volunteers-count-multiple-ballots-signature-audit-votes-antrim-county/]

5. Poll Challenger Exclusion - On (11/04/20), morning after Election Day, at TCF Center (locally a/k/a,
   "Cobo Hall"), GOP and Independent Poll Challengers were prohibited entry by threats, violence
   (some pushed, one GOP Poll Challenger arrested - SHOW video of James Frego arrested while
   Poll Watchers cheered, as posted on Twitter and shown on Hannity) and deception (told
     Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 21 of 23



      maximum reached when only or most Poll Challengers inside were Democrats). The few GOP and
      Independent Poll Challengers inside TCF Center for limited time permitted were not permitted to
      be within 6 feet of ballot counting, in direct violation of recent MI court case overriding COVID-19
      as excuse, which was known by Poll Workers but trained to ignore.

  6. Back Dating - Poll Workers, including Jessy Jacob, provided affidavits of supervisor(s) ordering Poll
     Workers to backdate documents on or before Election Day (11/03/20). USPS Whistleblower
     ordered to backdate by Supervisor.
     [Poll Workers - See Videos: https://www.newsmax.com/t/newsmax/article/996212/18 and
     https://justthenews.com/politics-policy/elections/lawsuit-filed-michigan-alleges-election-fraud-
     including-backdating and https://justthenews.com/politics-policy/elections/detroit-city-worker-
     blows-whistle-claims-ballots-were-ordered-backdated].
     [USPS- See Video: https://twitter.com/JamesOKeefeIII/status/1324174186366074880?s=20]

  7. Canvasser Threatened - Monica Palmer (GOP Canvasser) and children were threatened by
     Democrats if Palmer and GOP colleague did not certify votes. GOP Canvassers reluctantly certified
     subject to audit by MI SOS Benson, who later stated not bound to condition to which GOP
     Canvassers filed affidavits of threats.

  8. Dead "Voted" - [enter amount] dead people "voted," according to witnesses who provided
     affidavits on findings of official government records on MI SOS website for deceased in MI as
     correlated to electronic poll books and/or supplemental books [need confirmation of witnesses
     and evidence. One witness with videos is not responding to calls but I have video evidence].
     [See:     https://charliekirk.com/news/graveyard-vote-check-out-the-massive-list-of-joe-bidens-
     dead-supporters-in-
     michigan/?fbclid=IwAR3DArBfABWmu1lu1t6feNU3c_lTtyPc1KxKyvdoi5_HIkps3GtMT8geNzU]

  9. Same Old Birth Date - January 1, 1900 entered as birth date on a large number of ballots.

  10. Electioneering - On (11/04/20), Poll Workers at TCF Center wore masks stating "Biden / Harris,"
      shirts stating "BLM / Black Lives Matter," an organization directly associated with Democrat Party,
      in direct violation of electioneering rules enacted by state legislature.




GEORGIA
  1. "Suitcase Gate" - Video of "ballot stuffing" when "suitcases" (container type) filled with ballots
     (approximately 6,000 in each container) were rolled out from under table at GA arena and placed
     in tabulation machines (one batch repeatedly tabulated at least 3 times) by [X number] of poll
     workers who remained AFTER all Poll Watchers (GOP and the like), press and all third parties were
     required to leave the premises per announcement at or about [___ AM] until [___ AM] in violation
     of election laws enacted by GA state legislature. Ruby Freeman (woman in purple shirt on video),
     now under arrest and providing evidence against GA SOS Stacey Abrams and DNC on advanced
     coordinated effort to commit voter / election fraud [need confirmation of arrest and evidence].
      Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 22 of 23




   2. Dominion Voting Systems - Per analyses of Dr. Shiva, similar or same algorithm likely used in DVS
      machines in GA as in Antrim County, MI, resulting in fractional votes weighted to favor Biden.

   3. Pristine Ballots - Per testimony and affidavit of [enter name], [enter amount] of '"returned"
      absentee and/or mail-in ballots were in pristine condition (not folded), all with identical markings
      for Biden (with white speck in same location on all ballots - i.e., apparent copies of same ballot).

   4. Poll Challenger Exclusion - On (11/04/20), morning after Election Day, GOP (and possibly
      Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
      counting location and corralled.

   5. Water Leak - Basis to stop calculation of votes on (11/03/20) for water leak later proved false as
      merely a toilet leak remedied within [enter time] minutes (clear attempt at cover up).

   6. Dumped Military Ballots - Mail-in ballots by military found in GA dumpster.
      [See Video: https://twitter.com/KimonaQ/status/1324867267927158786?s=20]

   7. Dead "Voted" - 10,315 dead people "voted, in violation of election laws enacted by GA state
      legislature, per Ray Smith, GA attorney [See: https://djhjmedia.com/rich/trump-lawyer-reads-
      long-list-of-voter-fraud-allegations-in-georgia-will-ask-court-for-new-election-have-legislature-
      select-electors-video/]

   8. Felons Voted - 2,506 voted, in violation of election laws enacted by GA state legislature.

   9. Unregistered Voted - 2,423 unregistered people voted, in violation of election laws enacted by
      GA state legislature.

   10. Underaged Registrations - 66,248 underaged people were registered to vote, in violation of
       election laws enacted by GA state legislature.




PENNSYLVANIA
   1. Dominion Voting Systems - Per analyses of Dr. Shiva, similar or same algorithm likely used in DVS
      machines in GA as in Antrim County, MI, resulting in fractional votes weighted to favor Biden.

   2. PA Constitution Violation - PA state legislature arguably violated own PA Constitution, which
      prohibits mail-in ballots with minor exceptions.

   3. SCOTUS Violation - PA governmental officials REFUSED to comply with TWO Orders issued by
      Justice Samuel Alito of SCOTUS to segregate ALL ballots received after 8 PM on Election Day
       Case 1:21-cv-03354-BAH Document 26-3 Filed 06/06/22 Page 23 of 23



       (11/03/20), as required by election law enacted by PA state legislature. ALL ballots received after
       this time and date, totaling over [enter number] hundred thousand, are invalid by law.

   4. Back Dating - USPS Whistleblower admits supervisor ordered backdate of ballots.
      [See Video: https://twitter.com/bennyjohnson/status/1324850528279474176?s=20]

   5. Poll Challenger Exclusion - On (11/04/20), morning after Election Day, GOP (and possibly
      Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
      counting location and/or corralled at great distance where Poll Challengers used binoculars.
      [See Video: https://twitter.com/matthewtyrmand/status/1324786382733254658?s=21].

   6. Ballots Returned Before Day Mailed - Tens of thousands of ballots were "returned" earlier than
      day ballots were mailed [See: https://www.theepochtimes.com/pennsylvania-100000-ballots-
      with-implausible-return-dates_3572942.html].

   7. Trump Ballots Tossed - Democrats caught throwing out Trump votes.
      [See:https://thenewamerican.com/voter-fraud-pennsylvania-democrats-caught-throwing-out-
      trump-votes/]

   8. Statistical Anomalies - S. Stanley Young, PhD, FASA, FAAAS, provided PA County Voting Anomaly
      Analysis, revised (11/08/20) [See: https://thenationalpulse.com/politics/pennsylvania-vote-
      anomalies/].

   9. Military Ballots Dumped - Military mail-in ballots were found in PA dumpster, mostly Trump
      votes. [See:https://pjmedia.com/election/matt-margolis/2020/09/24/military-ballots-found-in-
      the-trash-in-pennsylvania-all-were-trump-votes-
      n964614?fbclid=IwAR38rNPjbNxK8odDGWPu7KuRSrH4hrf_gebcL4C22JaslRRP1v3MRsJfD1E]

   10. Multiple Votes - PA voter admits to voting twice.
       [See: https://www.bitchute.com/video/iCb3m8GGx5Yk/]

See also: https://ifapray.org/blog/voter-fraud-across-the-nation-state-by-state-examples/
See also: https://worldpopulationreview.com/state-rankings/number-of-registered-voters-by-state
